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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

E.G., individually and as parent and natural
guardian of A.I. and L.I., minor children;
M.M., individually and as parent and natural
guardian of E.H., L.H., Ev.P., and E.P.,
minor children; O.M., individually and as
parent and natural guardian of A.M., a minor   CIVIL ACTION NO. 1:20-cv-9879 (AJN)
child; and COALITION FOR THE
HOMELESS, on behalf of themselves and
all others similarly situated,
                Plaintiffs,

       v.

THE CITY OF NEW YORK; NEW YORK                 DECLARATION OF ANURAAG R.
CITY DEPARTMENT OF EDUCATION;                  SHARMA IN SUPPORT OF
RICHARD A. CARRANZA, as Chancellor of          DEFENDANTS’ OPPOSITION TO
the New York City Department of Education;     PLAINTIFFS’ MOTION FOR
NEW YORK CITY DEPARTMENT OF                    PRELIMINARY INJUNCTION
SOCIAL SERVICES; STEVEN BANKS, as
Commissioner of the New York City
Department of Social Services; NEW YORK
CITY DEPARTMENT OF HOMELESS
SERVICES; JOSLYN CARTER, as
Administrator of the New York City
Department of Homeless Services; NEW
YORK CITY HUMAN RESOURCES
ADMINISTRATION; GARY JENKINS as
Administrator of the New York City Human
Resources Administration; NEW YORK
CITY DEPARTMENT OF INFORMATION
TECHNOLOGY AND
TELECOMMUNICATIONS; and JESSICA
TISCH, as Commissioner of the New York
City Department of Information Technology
and Telecommunications,,

              Defendants.


       I, Anuraag R. Sharma, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:


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       1.      I am the Chief Information Officer for Defendant the Board of Education for the

City School District of the City of New York, also known as the New York City Department of

Education (“NYCDOE” or “DOE”). I submit this Declaration in support of Defendants’

opposition to Plaintiffs’ motion for a Preliminary Injunction.

       2.      I make this declaration in my capacity as Chief Information Officer (“CIO”) in

consultation with my staff. I am familiar with the matters set forth herein, based on my personal

knowledge and observations, experience, conversations with staff for the NYCDOE, and review

of documents provided to me. I respectfully submit this Declaration in order to place before the

Court certain testimony and documents relevant to the relief requested.

       3.      As CIO of the NYCDOE, I oversee the technology used by staff and students in

the Division of Instructional and Information Technology for the nation’s largest school system.

Previously, I was CIO at the New York City Department of Design and Construction, where I

oversaw that agency’s computer systems and information technology infrastructure. Prior to that

post, I was the CIO and Associate Commissioner at the New York City Department of Youth &

Community Development. Before working for the City of New York, I held IT positions with

various organizations and companies, including the U.S. Small Business Administration. I have a

Master of Science in Computer Information Systems from Southern New Hampshire University

and Bachelors in Electronics Engineering from Poona University in India.

       4.      NYCDOE is the largest public school district in the United States, serving over

1.1 million students from 3K to 12th grade in over 1,800 schools and employing over 140,000

employees.




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              The COVID-19 Pandemic and the Transition to Remote Learning

       5.      On March 15, 2020, in response to the COVID-19 pandemic, Mayor Bill de

Blasio and the NYCDOE announced that public school buildings in New York City would close

for the safety and health of students, staff and their communities.

       6.      The nation’s largest public school system then undertook the unprecedented

challenge of quickly transitioning delivery of education from in-person instruction to remote

learning for all its students. The NYCDOE rapidly developed online learning technology and

other resources, training and supports for teachers, staff, students and related service providers.

These include a suite of applications and tools like TeachHub, centralized Zoom tenant for

online classroom and collaboration, and GSuite enterprise tenant for teachers and students.

Within days of the Mayor’s announcement, over 70,000 teachers were equipped with an array of

tools to conduct remote instruction for 1.1 million students.

       7.      Beginning in March 2020, the NYCDOE worked closely with the New York City

Department of Information Technology and Telecommunications (“DoITT”) to swiftly set up

and distribute over 300,000 Apple iPads directly to students at their homes to meet the demand

for distance learning. Each iPad had to be individually set up, with NYCDOE-approved

applications and programs downloaded onto each device, and repackaged with cases for

shipment to students. Students residing in New York City temporary housing and shelters were

prioritized as the first group to receive the NYCDOE-issued iPads, which were equipped with T-

Mobile service and unlimited wireless data. Through the enormous collaborative efforts of the

NYCDOE, DoITT and the New York City Department of Social Services (“DSS”), these

internet-enabled iPads were distributed to families in shelters with school aged children.

Between March 25 and April 30, 2020, NYCDOE distributed approximately 270,000 iPads to all


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families who had submitted an online request during that time period. By the end of May 2020,

an additional 30,000 iPads were distributed, and by October 9, 2020, an additional 50,000 iPads

were distributed. The NYCDOE has ordered an additional 100,000 iPads to be distributed to

students, prioritizing students in shelters first.

      The NYCDOE Deploys Significant Resources to Address Connectivity and Other
              Technology Issues Raised Associated with Remote Learning

        8.      During the remainder of the Spring semester of School Year 2019-2020, the

NYCDOE received and addressed technology questions related to remote learning, but those

issues mainly pertained to learning the new technology, such as logging in to the system. When

school reopened in the Fall for the School Year 2020-2021, the NYCDOE began hearing reports

of significant issues with internet connectivity at certain shelters. Specifically, at the beginning

of October 2020, the NYCDOE learned of three sites in particular that had connectivity issues:

Flatlands, Regent, and Children’s Rescue shelters.

        9.      A few days after learning of those issues, the NYCDOE deployed technical teams

to Flatlands, Regent, and Children’s Rescue shelters to test the internet connectivity in the

buildings because these shelters had reported the most problems with connectivity. T-Mobile and

Verizon engineers joined. The strength of the signal for both T-Mobile and Verizon service was

tested in all three buildings, and the teams confirmed that all remote learning apps performed

satisfactorily and better using Verizon service.

        10.     The NYCDOE continued the same testing process at additional shelters,

prioritizing those identified by DSS as having the highest needs. In October 2020, NYCDOE

technicians were onsite at 3 additional sites to test cellular signal strength, and were also

available from 11:00 a.m. to 4:00 p.m. for walk-ins to help address any issues students were

having with their devices. As a result of these tests at the six shelters, the NYCDOE and DoITT

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quickly made the decision to replace T-Mobile service with Verizon on the iPads of all students

living in these buildings. NYCDOE technicians thereafter conducted the same testing process at

two additional shelters.

       11.     The swap from T-Mobile service to Verizon has to be done individually with each

iPad to ensure that the service is sufficient for the applications required for schoolwork. This

work was started immediately. A vendor was engaged, and Verizon SIM cards were purchased.

Dedicated technician teams were deployed to complete the switch from T-Mobile to Verizon for

eight shelters in October, and the swap was completed for 295 students. To date, the NYCDOE

has completed 371 swaps at these eight shelters.

       12.     The NYCDOE also established a central IT phone help desk (“Help Desk”)

initially dedicated to addressing technology-related issues only for families in shelters. This Help

Desk began operating on Monday October 19, 2020, with hours from 6:00 a.m. to 5:00 p.m., and

extended the hours to 9:00 p.m. starting November 9, 2020. Any student or family residing in a

shelter who reported a connectivity problem to the Help Desk was responded to within 24 hours

and then, where required, switched from T-Mobile service to Verizon service depending on the

availability of the family. The NYCDOE worked with DSS to publicize the Help Desk contact

information to shelter residents, but ultimately received only 10-12 calls per day from shelters.

       13.     Near the end of October, to increase outreach to these families, DSS began

surveying all families in shelters regarding technology issues with their students’ DOE-issued

iPads and connectivity. See Declaration of Erica Dean in Support of Defendants’ Opposition.

Starting the week of November 9, 2020, the NYCDOE contracted an additional twenty

temporary technical support assistants to provide on-site IT help at 35 DSS family shelter sites.

During the week of November 16, 2020, an additional thirty temporary technical support


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assistants were contracted for a total of fifty technicians working at full capacity to cover all

shelter sites. The contractor for the Help Desk and the additional temporary technicians are the

same for strong coordination between the teams.

       14.     DSS communicates reported connectivity issues from the surveys, so long as

families have given consent, directly to the Help Desk. To address the connectivity issues as

quickly as possible, the deployed tech teams proactively contact the families reporting a

connectivity issue through various means, including knocking on doors with the help of shelter

staff. For the families that respond, the technician then conducts an on-site visit to each family

and trouble shoots the problems identified in the survey, which may include switching the T-

Mobile service to Verizon for a DOE-issued iPad. I understand that shelter staff also notified

families of the on-site availability of the NYCDOE tech teams.

       15.     From the beginning of November to the present, the on-site tech teams have

conducted this outreach and support for over 90 shelter sites, prioritizing the shelter sites with

more reported issues on the surveys. Currently, the sites being visited have on average five to

six reported issues per shelter site, down from an average of 16 per shelter site, as reported on the

surveys. The on-site tech teams work as quickly as they can and have on some days been able to

visit more than 50 sites in a day. The on-site tech teams are scheduled to complete all site visits

in three weeks. So far, the NYCDOE has conducted swaps from T-Mobile service to Verizon

service on a total of 1,086 iPads.

       16.     Approximately 2,300 families from the surveys reported any technological

problem with their DOE-issued iPad. Through this joint effort with DSS, NYCDOE has been

able to resolve over 80% of all reported technology issues, including connectivity issues,

reported by families in the surveys. Only 52% of these families were found to have connectivity


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             issues, specifically, and they received a swap from T-Mobile service to Verizon service. The

             issues unrelated to connectivity were resolved through troubleshooting and other means.

                     17.      The NYCDOE continues to conduct call backs to students who received the swap

             from T-Mobile service to Verizon service for feedback on their internet connectivity.



             I declare under penalty that the foregoing is true and correct and of my own personal knowledge.



             DATED this 4th day of December, 2020 at New York, New York.




                                                                   ANURAAG SHARMA




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